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                      IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

              v.
                                                          Case No. 21-cr-117-1 (TFH)
RYAN TAYLOR NICHOLS,

                      Defendant.


                   MOTION TO CONTINUE THE DEFENSE’S
            DEADLINE TO FILE REPLY IN SUPPORT OF BOND MOTION


       Because of a medical emergency that took place within the undersigned counsel’s family

over the weekend of December 11, 2021. The Defense respectfully requests that the current

Reply date of December 13, 2021 be advanced by two days to December 15, 2021, so long as

said request does not move the December 20, 2021 hearing date in this case past December 22,

2021. In the alternative, should this two-day continuance request require moving the December

20, 2021, hearing date past December 22, 2021. The Defense will instead request a one-day

extension from December 13, 2021 to December 14, 2021. The Defense apologizes for any

inconvenience that this request may cause the Court.

Dated: December 13, 2021

                                                   Respectfully Submitted,

                                                    /s/ Joseph D. McBride, Esq.
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                                                   Joseph D. McBride, Esq.
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